Case
Case1:11-cv-01611-MSK-CBS
     1:11-cv-01611-MSK-CBS Document
                           Document108-4 Filed08/17/12
                                    94-2 Filed 08/31/12 USDC
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                   The Kroger Co.
                   Law Department
                   1014 Vine Street
                   Cincinnati, Ohio 45211
                   (513) 762-4428 fax (513) 762-4613
                              The Kroger Co. Law Department
                             Third Party Subpoena Fee Schedule


    Man Hours =              Time spent on research, production,      $50.00/hr employees;
                             and copying                              contractors at cost

    Copying =                Photocopying of all original documents   $0.15/pg.

    Hard copy =              Scanning of hard copy documents          RICOH’s actual
    To Electronic            put into PDF format and Bates Stamped    charge to Kroger

    Media =                  CDs and DVDs                             $35.00 each
                             Other media                              at cost

    Shipping =               UPS Express Standard Carrier Rates       UPS’s published
                                                                      prices by zip code

    Electronic =             Electronic Data processed &              RICOH’s actual
    Media                    Bates Stamped delivered on a CD          charge to Kroger

    eDiscovery/ =            eDiscovery Vendor Costs                  Vendor actual
    Production of                                                     charge to Kroger
    ESI


                Invoice for fees will be included with production documents. Payment
              should be made and submitted to the invoice remittance address within 30
                                           days of invoice date.


                                                           EXHIBIT B-2
                                                             EXHIBIT C
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